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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



SAMUEL PHILBRICK, et al.,

                Plaintiffs,
                                                       Civil Action No. 1:19-cv-00773 (JEB)
    v.


ALEX M. AZAR II, et al.

                Defendants.


                                       NOTICE OF APPEAL

         PLEASE TAKE NOTICE that Defendants, Alex M. Azar II, in his official capacity as

Secretary of Health and Human Services; Seema Verma, in her official capacity as Administrator of

the Centers for Medicare & Medicaid Services; the United States Department of Health and Human

Services; and the Centers for Medicare & Medicaid Services, hereby appeal to the United States Court

of Appeals for the District of Columbia Circuit from this Court’s Memorandum Opinion and Order

granting Plaintiffs’ Motion for Summary Judgment, denying Defendants’ Cross-Motions for Summary

Judgment and Motion to Dismiss, vacating the Secretary’s approval of the Granite Advantage

Program, and remanding to the agency, both entered on July 29, 2019, ECF Nos. 46, 47, and Order

entering judgment on Count II of Plaintiffs’ Complaint, entered on August 27, 2019, ECF No. 51 as

well as all prior orders and decisions that merge into those.



Dated: October 25, 2019                             Respectfully submitted,

                                                    JOSEPH H. HUNT
                                                    Assistant Attorney General

                                                    MICHELLE BENNETT

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                              Assistant Branch Director,
                              Federal Programs Branch

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